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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA                 )
                                         )
                                         )
                    v.                   ) 2:19-cr-00201-JDL
                                         )
ANTHONY JONES,                           )
                                         )
      Defendant.                         )


                     ORDER ON MOTION FOR DISCOVERY

      The Government has charged Anthony Jones with one count of possession with

intent to distribute heroin and cocaine in violation of 21 U.S.C. § 841(a)(1). Jones has

filed a motion to suppress all evidence collected following a dog sniff of his vehicle by

a narcotic-detecting police dog (ECF No. 23). That motion remains pending and has

not yet been heard. Jones has also filed the present motion seeking discovery of

certain materials beyond those that the Government has already provided him (ECF

No. 30). For reasons I will explain, Jones’s Motion for Discovery is denied.

                                 I. BACKGROUND

      Jones’s motion to suppress asserts that on September 30, 2019, Trooper John

Darcy of the Maine State Police pulled over the vehicle Jones was driving because its

inspection sticker had expired. There was one passenger in the vehicle at the time.

A second officer arrived soon thereafter. At some point after initiating the traffic

stop, Trooper Darcy called for a narcotic-detecting dog and its handler. Upon arrival,

the handler conducted a dog sniff of Jones’s vehicle, and the dog purportedly alerted

to the odor of narcotics in the vehicle. A subsequent search of the vehicle allegedly
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revealed heroin and cash. At that point, Jones was placed under arrest. Jones then

told the troopers that he had drugs on his person and helped them retrieve the drugs.

He further stated that he sold drugs and admitted that the drugs in the vehicle were

his.

       Jones has moved to suppress evidence of the heroin, the cash, and the

incriminating statements that he made after he was arrested. In advance of the

hearing on the motion to suppress, he now moves for additional discovery.

                                        II. ANALYSIS

       Jones’s motion for discovery seeks: (A) performance records of the narcotic-

detecting dog and its handler, and (B) several years’ worth of material regarding prior

stops conducted by Trooper Darcy. I address each of these requests in turn.

A.     Field Performance Records of the Narcotic-Detecting Dog and Its
       Handler

       Jones seeks the field performance records of the police dog that conducted the

dog sniff of the vehicle he was driving, presumably so that he may argue that the

dog’s positive alert to the presence of narcotics in the vehicle did not establish

probable cause to search the vehicle. 1 See United States v. Brown, 500 F.3d 48, 57 &

n.3 (1st Cir. 2007) (noting that a “canine sniff outside a vehicle can provide probable

cause to search the vehicle” but that the existence of probable cause “depends upon

the dog’s reliability”). The Supreme Court addressed the relevance of such records to

a court’s probable cause analysis when considering a motion to suppress in Florida v.



 1  Jones’s motion for discovery also requests training and certification records of the dog and its
handler. The Government represents that it has since provided those records to Jones. Accordingly,
I deny the motion for discovery as moot with respect to those records.

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Harris, 568 U.S. 237 (2013).

      In Harris, a police dog alerted during a traffic stop of the defendant, signaling

that contraband was present. See id. at 240. Although a subsequent search of the

defendant’s vehicle revealed contraband, none of it was the type of contraband the

dog was trained to detect. See id. at 240–41. The defendant moved to suppress the

contraband, arguing that the dog’s positive alert did not establish probable cause to

search his vehicle because the dog was unreliable. See id. at 242. In making this

argument, the defendant relied in part on the dog’s prior performance in the field,

emphasizing that the same dog had falsely alerted to the presence of contraband in

his vehicle on another occasion. See id. at 241−42. The defendant also pointed out

that the dog’s field performance records were incomplete and therefore unreliable.

See id. at 242. The Florida trial court denied Harris’ motion to suppress, but the

Florida Supreme Court reversed, concluding that a dog’s positive alert could not

establish probable cause to search a vehicle unless the Government presented field

performance records and other objective evidence showing that the dog was reliable.

See id. at 242–43.

      The United States Supreme Court reversed the Florida Supreme Court’s

decision, explaining that requiring field performance records to establish probable

cause was the “antithesis” of the totality-of-the-circumstances analysis used to

determine probable cause. Id. at 244–45. The Court also criticized the weight the

Florida Supreme Court gave to field performance evidence in general:

      [T]he decision below treats records of a dog’s field performance as the
      gold standard in evidence, when in most cases they have relatively
      limited import. Errors may abound in such records. If a dog on patrol

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      fails to alert to a car containing drugs, the mistake usually will go
      undetected because the officer will not initiate a search. Field data thus
      may not capture a dog’s false negatives. Conversely (and more relevant
      here), if the dog alerts to a car in which the officer finds no narcotics, the
      dog may not have made a mistake at all. The dog may have detected
      substances that were too well hidden or present in quantities too small
      for the officer to locate. Or the dog may have smelled the residual odor
      of drugs previously in the vehicle or on the driver’s person. Field data
      thus may markedly overstate a dog’s real false positives. By contrast,
      those inaccuracies—in either direction—do not taint records of a dog’s
      performance in standard training and certification settings. There, the
      designers of an assessment know where drugs are hidden and where
      they are not—and so where a dog should alert and where he should not.
      The better measure of a dog’s reliability thus comes away from the field,
      in controlled testing environments.

Id. at 245–46 (footnotes omitted). Nevertheless, the Supreme Court emphasized that

a defendant “must have an opportunity to challenge . . . evidence of a dog’s reliability,

whether by cross-examining the testifying officer or by introducing his own fact or

expert witnesses.” Id. at 247. And the Supreme Court’s decision indicates that

“evidence of the dog’s (or handler’s) history in the field, although susceptible to the

kind of misinterpretation we have discussed, may sometimes be relevant.” Id.

      Since Harris, the two circuits that have addressed the question of whether the

Government must always produce a dog’s field performance records reached different

conclusions. The Second Circuit held that a district court abused its discretion in

denying a defendant’s request for field performance records. United States v. Foreste,

780 F.3d 518, 529 (2d Cir. 2015).       The court opined that “the principle that a

defendant ‘must have an opportunity to challenge . . . evidence of a dog’s reliability’

would be stripped of its value if the defendant were not entitled to discover the

evidence on which he would base such a challenge.” Id. (internal citation omitted)

(quoting Harris, 568 U.S. at 247); see also United States v. Flores, No. 2:16-CR-0833-

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CAS, 2017 WL 2056018, at *7 (C.D. Cal. May 8, 2017).

        By contrast, the Eighth Circuit held that a district court did not abuse its

discretion when it denied a defendant access “to minimally probative field-

performance records for the purpose of cross-examining” the trooper responsible for

the dog. United States v. Salgado, 761 F.3d 861, 867 (8th Cir. 2014). A district court

applying Salgado explained that a defendant was not automatically entitled to such

evidence but instructed that, “[i]f there are peculiar circumstances to justify discovery

of [the dog]’s field-performance records, the magistrate judge may order the

government to produce them.” United States v. Trejo, 135 F. Supp. 3d 1023, 1036

(D.S.D. 2015).

        The Court of Appeals for the First Circuit has not had occasion to address this

issue, though one judge in this district has. In United States v. White, No. 2:13-cr-48-

DBH, 2013 WL 5754948 (D. Me. Oct. 22, 2013), the court denied a defendant’s motion

for discovery of a dog’s field performance records. Id. at *1. The court emphasized

that the defendant had “offered no reason why he should be entitled to information

beyond that contemplated by the Supreme Court in the run-of-the-mill drug-sniffing

dog case.” Id. at *2. 2

        Based on the Supreme Court’s reasoning in Harris that “evidence of a dog’s

satisfactory performance in a certification or training program can itself provide

sufficient reason to trust his alert” and that with such evidence “a court can presume




 2   The First Circuit affirmed the subsequent denial of the motion to suppress in White, and because
it affirmed the district court’s finding of probable cause for reasons not involving the dog sniff, the
court specifically declined to “separately consider the issues raised by the district court’s denial of [the
defendant]’s motion for discovery.” United States v. White, 804 F.3d 132, 135, 138 (1st Cir. 2015).

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(subject to any conflicting evidence offered) that the dog’s alert provides probable

cause to search,” 568 U.S. at 247, I conclude that the approach followed in Salgado

and White is most in keeping with Harris. That is, a defendant requesting field

performance records of a narcotic-detecting dog and its handler must make a showing

that such records are material. Thus, a proffer indicating that the narcotic-detecting

dog or its handler lacked proper training or certification would support the need for

additional discovery regarding the dog or handler’s field performance. So too might

a proffer indicating that the dog has falsely alerted on other occasions. Because Jones

has made no such showing here, the motion for discovery as to the narcotic-detecting

dog’s field performance records is denied.

B.    Prior Stops Conducted by Trooper Darcy

      Jones also requests the records of “[a]ll police reports and video for stops

conducted on the Maine Turnpike by Trooper Darcy” since September 2016. ECF No.

30 at 2. Jones requests numerous details as to each stop. He seeks the date of each

stop, the names of the occupants of the vehicles, the circumstances of each case, and

the race and ethnicity of the driver and passenger. He also seeks information about

whether Trooper Darcy administered Miranda warnings prior to any questioning,

whether Trooper Darcy ever cited a driver without conducting a search, ordering the

driver out of the vehicle, or calling for a police dog, and whether any search provided

a negative result as to the presence of drugs.

      Jones argues that the Government must disclose this information under the

Supreme Court’s decision in Brady v. Maryland, 373 U.S. 83 (1963), which held that

the prosecution has a duty under the Due Process Clause of the Fourteenth

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Amendment to disclose, upon request, certain evidence that is favorable to the

accused and material to guilt or punishment. See United States v. Prochilo, 629 F.3d

264, 268 (1st Cir. 2011).

      “Evidence is ‘favorable to the accused’ if it is either exculpatory or impeaching

in nature and ‘material’ if there is a reasonable probability that, had it been disclosed,

the result of the proceeding would have been different.” Id. (quoting Strickler v.

Greene, 527 U.S. 263, 280 (1999)). “The government is primarily responsible for

deciding what evidence it must disclose to the defendant under Brady,” and the

government’s decision is “ordinarily final.” Id. However, where a defendant requests

specific materials that the government maintains are not discoverable under Brady,

a court may conduct an in camera review of the disputed materials in certain

instances. See id. To obtain such a review by a court, a defendant must make a

showing that the materials in question “could contain favorable, material evidence.”

Id. The defendant “should be able to articulate with some specificity what evidence

he hopes to find in the requested materials, why he thinks the materials contain this

evidence, and finally, why this evidence would be both favorable to him and material.”

Id. at 269.

      Jones argues that the evidence relating to Trooper Darcy’s prior stops is

material because it will help him “develop his argument” that his case involves an

instance of racial profiling. ECF No. 30 at 6. Jones argues that “this case seemingly

involves an instance of racial profiling,” because Jones is black and because “[t]here

was simply no reasonable suspicion that anything illegal was afoot that could justify”

Trooper Darcy’s actions. Id. at 1, 6.

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        I do not resolve the question of under what circumstances information that

might support a defendant’s assertion of racial profiling and selective enforcement

becomes “material” for purposes of the Government’s Brady obligations because

Jones has failed to offer any support for the premise of his request in this case: that

Trooper Darcy’s investigation was not supported by a reasonable suspicion of criminal

activity. 3 Nor has an evidentiary hearing been held yet on Jones’ motion to suppress

at which the Government will have the opportunity to present evidence in connection

with the reasonable suspicion standard. Accordingly, at this stage of the proceedings,

Jones has not shown that the information and records he seeks should be subject to

an in camera review by the Court.

                                       III. CONCLUSION

        For the foregoing reasons, Jones’s Motion for Discovery (ECF No. 30) is

DENIED.

        SO ORDERED.

        Dated: June 12, 2020


                                                                /s/ JON D. LEVY
                                                          CHIEF U.S. DISTRICT JUDGE

  3 Although this issue was addressed no more than indirectly in the parties’ briefs, I note that several

courts have determined that Brady does not compel the disclosure of information in connection with a
defendant’s claim of selective enforcement. See, e.g., United States v. Washington, 869 F.3d 193, 221
(3d Cir. 2017) (noting that certain information “relevant to a selective enforcement claim” is “not
ordinarily . . . the sort of discovery material available to a criminal defendant under Fed. R. Crim. P.
16 or Brady and its progeny”); cf. United States v. Safavian, 233 F.R.D. 12, 20 (D.D.C. 2005) (denying
discovery of selective prosecution evidence unless it was independently discoverable under Brady);
United States v. Blumberg, No. CRIM. 00-10-B-S, 2000 WL 1511194, at *5 (D. Me. Oct. 5, 2000)
(holding that selective prosecution evidence is not material under Brady); United States v. Feliciano,
998 F. Supp. 166, 174 (D. Conn. 1998) (denying request for evidence which was “framed as a request .
. . under Brady” but which was “really for evidence of selective prosecution”); cf. also United States v.
Armstrong, 517 U.S. 456 (1996) (concluding that evidence of selective prosecution is not “material”
under what is now Fed. R. Crim. P. 16(a)(1)(E)).


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